                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   SOUTHERN DIVISION
                             Civil Action No. _______________


PATRICIA E. MURPHY,                           )
                                              )
       Plaintiff,                             )
                                              )
               v.                             )
                                              )
JAMES T. PATTEN,                              )
GREATER METROPOLITAN                          )
INVESTMENT SERVICES, INC.,                    )
T. R. WINSTON & CO., LLC,                     )
EMPIRE FINANCIAL GROUP, INC.,                 )
and CHINTAMAN M. DALVI,                       )
                                              )
       Defendants.                            )
                                              )


                              PLAINTIFF’S MOTION
                    FOR CONFIRMATION OF ARBITRATION AWARD

       Plaintiff Patricia E. Murphy moves the Court for confirmation of an arbitration award

entered against defendants James T. Patten, Greater Metropolitan Investment Services, Inc., T.R.

Winston & Co., LLC, Empire Financial Group, Inc., and Chintaman M. Dalvi.


                                    NATURE OF ACTION

       This is a motion for confirmation of an arbitration award against defendants James T.

Patten, Greater Metropolitan Investment Services, Inc., T.R. Winston & Co., LLC, Empire

Financial Group, Inc., and Chintaman M. Dalvi (collectively “Defendants”). The arbitration was

administered by the Financial Industry Regulatory Authority (“FINRA”). Plaintiff seeks a

judgment confirming the arbitration award and entry of judgment thereon pursuant to 9 U.S.C. §

9.

MURPHY.0071.MOTION TO CONFIRM ARB AWARD.DOC


           Case 4:08-cv-00023-FL Document 1 Filed 02/11/08 Page 1 of 5
                                PARTIES AND JURISDICTION

         1.     Plaintiff Patricia E. Murphy is a citizen and resident of Hampstead, Pender

County, North Carolina.

         2.     Defendant James T. Patten (“Patten”) is a resident of New Jersey and was

employed by the broker-dealer firms named herein, and in that capacity acted as stockbroker and

financial advisor to Ms. Murphy.

         3.     Defendant Greater Metropolitan Investment Services, Inc. (“GMIS”) is a New

Jersey corporation owned by Patten. It operated as a securities broker-dealer in Bedminster,

New Jersey, until 2004.

         4.     Defendant T.R. Winston & Co., LLC (“Winston”) is a Delaware corporation and

maintains its principal place of business in Bedminster, New Jersey. Winston is a securities

broker-dealer and a member of FINRA.

         5.     Defendant Empire Financial Group, Inc., (“Empire”) is a Florida corporation and

maintains its principal place of business in Longwood, Florida. Empire is a securities broker-

dealer and a member of FINRA.

         6.     Defendant Chintaman M. Dalvi (“Dalvi”) is a resident of New Jersey and was

employed at all relevant times as a registered principal in the Bedminster, New Jersey, offices of

GMIS, Winston and Empire during the times defendant James T. Patten was employed at those

firms.

         7.     This Court has jurisdiction over the controversy pursuant to 9 U.S.C. § 1 and

pursuant to 28 U.S.C. § 1332(a) in that the amount in controversy is in excess of $75,000 and the

plaintiff and defendants are citizens of different states.




MURPHY.0071.MOTION TO CONFIRM ARB AWARD.DOC        2
              Case 4:08-cv-00023-FL Document 1 Filed 02/11/08 Page 2 of 5
       8.       Venue is proper in this district under 9 U.S.C. § 9 and 28 U.S.C. § 1391 in that the

arbitration at issue in this case was heard in Raleigh, North Carolina.


                             ADDITIONAL FACTUAL ALLEGATIONS

       9.       FINRA Dispute Resolution appointed the following persons to serve as the

parties’ arbitration panel: Leon Henderson, Jr., Esq., Alan L. Berger and Donald Cornelius

Morrison, Sr.

       10.      The hearing site for the arbitration hearing was Raleigh, North Carolina. The case

was heard for seven days during the period January 22 through 31, 2008. At the hearing,

plaintiff was represented by Andrew O. Whiteman, of Hartzell & Whiteman, L.L.P. Defendant

Patten was represented by Richard C. Szuch, Esq. of Bressler, Amery & Ross, P.C. Defendant

Winston was represented by Eden L. Rohrer, Esq. of Ellenoff Grossman & Schole, LLP.

Defendant Empire was represented by Todd A. Zuckerbrod, Esq., in-house counsel for Empire.

Defendant Dalvi was represented by Sheryl M. Goski, Esq. of Herold and Haines PA.

       11.      On February 6, 2008, FINRA served the arbitrators’ unanimous decision, a copy

of which is attached hereto as Exhibit 1 (“Arbitration Award”) and incorporated herein by

reference. The Arbitration Award provides:

       After considering the pleadings, the testimony and evidence presented at the
       hearing, and the post-hearing submissions (if any), the Panel has decided in full
       and final resolution of the issues submitted for determination as follows:

       Respondents Patten and Greater Metropolitan are liable, jointly and severally, and
       shall pay to Claimant compensatory damages in the sum of $753,417.50 plus
       interest at the rate of 6% per annum accruing from January 31, 2008 until the date
       of payment of the Award.
       Respondents Patten, Dalvi, and T.R. Winston are liable, jointly and severally, and
       shall pay to Claimant compensatory damages in the sum of $255,000.00 plus
       interest at the rate of 6% per annum accruing from January 31, 2008 until the date
       of payment of the Award.



MURPHY.0071.MOTION TO CONFIRM ARB AWARD.DOC      3
             Case 4:08-cv-00023-FL Document 1 Filed 02/11/08 Page 3 of 5
       Respondents Patten, Dalvi, and Empire are liable, jointly and severally, and shall
       pay to Claimant compensatory damages in the sum of $130,000.00 plus interest at
       the rate of 6% per annum accruing from January 31, 2008 until the date of
       payment of the Award.

       Respondents Patten and Greater Metropolitan, T.R. Winston, Empire, and Dalvi
       are liable, jointly and severally, and shall pay to Claimant costs in the sum of
       $26,924.00.

       Respondents Patten and Greater Metropolitan, T.R. Winston, Empire, and Dalvi
       are liable, jointly and severally, and shall pay to Claimant the sum of $500.00
       representing reimbursement of the claim filing fee previously paid by Claimant to
       FINRA Dispute Resolution.


       12.      The arbitration award is final and binding pursuant to the parties’ agreement to

arbitrate and the Code of Arbitration Procedure of FINRA.


                                     CLAIM FOR RELIEF
                              (Confirmation of Arbitration Award)

       13.      Plaintiff is entitled to confirmation of the award pursuant the Federal Arbitration

Act.

       14.      Under Section 9 of the Federal Arbitration Act, any party to an arbitration

agreement may apply to the federal district court in the district in which the arbitration award

was made to enter the award as a judgment.

       15.      Plaintiff requests that the Arbitration Award be confirmed as a final judgment of

this Court.


                                     PRAYER FOR RELIEF

       WHEREFORE, having complained of defendants, plaintiff prays that the Court for the

following relief:




MURPHY.0071.MOTION TO CONFIRM ARB AWARD.DOC       4
              Case 4:08-cv-00023-FL Document 1 Filed 02/11/08 Page 4 of 5
       1.     That the Court confirm and enter judgment in accordance with the Arbitration

Award;

       2.     That the costs of this action be taxed to defendants; and

       3.     That plaintiff receive such other relief as the Court may deem just and proper.



February 11, 2008                             s/Andrew O. Whiteman
Date                                          Andrew O. Whiteman, Esq.
                                              North Carolina Bar Number 9523
                                              Hartzell & Whiteman, L.L.P.
                                              Attorneys for Plaintiff
                                              2626 Glenwood Avenue, Suite 500
                                              Raleigh, North Carolina 27608
                                              Telephone: (919) 571-8300
                                              Fax: (919) 571-1004
                                              E-mail: andywhiteman@hwlawyers.com




MURPHY.0071.MOTION TO CONFIRM ARB AWARD.DOC     5
            Case 4:08-cv-00023-FL Document 1 Filed 02/11/08 Page 5 of 5
